Case 6:15-cv-01004-GAP-DAB Document 1-2 Filed 06/18/15 Page 1 of 7 PageID 8



                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE MIDDLE DISTRICT OF FLORIDA
                            ORLANDO DMSION


KATHY D. ROHALEY,                             Case No.:


     Plaintiff,

V.



HAROLD RAY CRAIG, and u.s. XPRESS
LEASING OF TENNESSEE, INC., and TOTAL
TRANSPORTATION OF M?SSISS?PPI LLC,

     Defendants.
                                      /




                    EXHIB?T ?A" to Notice of Removal
Case 6:15-cv-01004-GAP-DAB Document 1-2 Filed 06/18/15 Page 2 of 7 PageID 9
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                                                              IN THE CIRCUIT COTJRT OF THE
                                                              NINTH JUDICIAL CIRCUIT, IN AND
                                                              FOR ORANGE COUNTY, FLORIDA

                                                              CASE NO.


 KATHY D. ROHALEY,

                         Plaintiff,
 VS.



HAROLD RAY CRAIG, and U.S, XPRESS
LEASING OF TENNESSEE, n%TC., and TOTAL
 TRANSPORTATION OF MISSISSIIPPI LLC,

                         Defendants.
                                                          /


                                              COMPLAINT


            The Plaintiff, KATHY D. ROHALEY, sues the Defendants, HAROLD RAY CRAIG, U.S.

 XPRESS LEASMG OF TENNESSEE, mc., d/b/a, U.S. XPRESS LEASING, INC.,

 [hereinafter ?U.S. XPRESS?], a foreign profit corporation, and TOTAL TRANSPORTATION OF

 MISSISSIPPI, a limited liability company, [hereinafter "TOTAL TRANSPORTATION?], and

 alleges:

            1. ThisisanactionfordamagesinexcessofFifteenThousandDollars($15,000.00).

            2. That at all times material to this cause, Defendant, U.S. XPRESS was arid is a

 foreign profit corporation doing busiiiess in the State of Florida in the form of interstate hucking.

            3. Tliat at au times material to tis cause, Defendant, TOTAL TRANSPORTATION

 was and is a limited liability company doing business in the State of Flozida in the form of interstate

 trucking.

            4. OnoraboutDecember27,2010,Defendant,U.S.XPRESS,owned,andDefendant,

 H?AROLD RAY CRAIG with the express aiid/or implied consent of Defendmit, U.S. XPRESS,


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Case 6:15-cv-01004-GAP-DAB Document 1-2 Filed 06/18/15 Page 3 of 7 PageID 10




 operated a motor vehicle traveling east on Interstate 4 (S.R. 400) approaching the exit for State

 Road 482 (Sand Lake Road) in Orlando, Orange County, Florida.

        s. In the alternative, upon information and belief, on or about December 27, 2010,

 Defendant, TOTAL TRANSPORTATION, owned, and Defendant, HAROLD RAY CRAIG with

 the express and/or implied consent of Defendant, TOTAL TRANSPORTATION, operated a motor

 vehicie traveling east on I?nterstate 4 (S.R. 400) approaching the exit for State Road 482 (Sand Lake

 Road) in Orlando, Orange County, Florida.

        6. Upon iiiformation and belief, at all times material to this cause, the Defendant, U.S.

 XPRESS was a non-resident, foreign profit corporation, providing a Tennessee vehicle tag to the

 police officer at the scene of the crash; therefore, Defendmit has accepted the privilege extended by

 Florida law by allowing the operation its motor vebicle within Florida. Defendant has thereby

 constituted the Secretary of State of Florida as the Defendant's agent for the service of process in

 any civil action in Floiida arising out of or by reason of any accident or collision occurring within

 Florida in which the motor vehicle is involved.


         7. Upon information and belief, at all times material to this cause, the Defendant,

 TOTAL TRANSPORTATION was a non-resident, limited liability compm'iy, providing a

 Mississippi vehicle tag to the police officer at the scene of the crash; therefore, Defendant has

 accepted the ptivilege extended by Floiida law by allowing the operation its motor yehicle within

 Florida. Defendant has thereby constituted the Secretary of State of Florida as the Defendant's

 agent for the service of process in any civil action in Florida arising out of or by reason of any

 accident or collision occurring within Florida in which the motor vehicle is involved.




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Case 6:15-cv-01004-GAP-DAB Document 1-2 Filed 06/18/15 Page 4 of 7 PageID 11




          8. Upon information and belief, at all times materiaI to this cause, the Defendant,

 HAROLD RAY CRAIG was a non-resident of Florida, providing a Tennessee driver's license to

 the police officer at the scene of the crash; therefore, he accepted the privilege extended by Florida

 law of operating a motor vehicle wit? Florida and thereby constifuted the Secretary of State of

 Florida as the Defendant's agent for the service of process in any civil action in Florida arising out

 of or by reason of any accident or collision occurring within Florida in which the motor vehicle is

 involved.


                           COUNT I AGAmST HAROLD RAY CRAIG


          Plaintiff re-alleges paragraphs 1-8 and adopts paragraphs 17-18, and further says as

 follows:


          9. At that time and place, Defendant, HAR?OLD RAY CRAIG, negligently operated

 the subject vehicle and trailer such that he rear-ended the vehicle where the Plaintiff, KATHY D.

 ROHALEY was a passenger, who was then pushed into the vehicle in front where there was

 stopped traffic.

            10, As a direct and proximate result of the negligence of the Defendant, HAROLD

 RAY CRAJ[G, the Plaintiff, KATHY D. ROHALEY has suffered damages as more fully set forth

 below.


                                COUNT n AGAINST U.S. XPRF,88


          Plaintiff re-alleges paragraph l-10 and adopts paragraphs 17-18, and further says as

 follows:


            11. Upon information and belief, at all times material to this cause, Defendant,

 HAROLD RAY CRAIG was an employee, agent, or servant of Defendant, tr.s. XPRF,SS, acting

 withiii his scope of employment, agency or service with said Defendant; therefore, Defeiidmit, U.S.


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Case 6:15-cv-01004-GAP-DAB Document 1-2 Filed 06/18/15 Page 5 of 7 PageID 12




 XPRBSS, is vicariously liable for the acts of its employee under the doctrines of "dangerous

 instrumentality? and ?respondeat superiota.

         12. As a direct and proximate result of the neg??igence of the Defendant, HAROLD

 RAY CRAIG the Plaintiff, KATHY D. ROHALEY has suffered damages as more fully set foltll

 below for which the Defendant, U.S. XPRESS, is vicariously liable under the "dangerous

 instrumentality" and "respondeat superior" doctrines.

         13. AsadirectandproximateresultofthenegligenceoftheDefendant,HAROLD

 RAY CRAIG, the Plaintiff has suffered damages as more fully set forth below.

                         COUNT ni AGAINST TOTAL TRANSPORTATION


         Plaintiff re-alleges paragraph 1-10 and adopts paragraphs 17-18, and further says as

 follows:


         14. sr the alternative, upon information and belief, at all times material to this cause,

 Defendant, HAROLD RAY CRAIG was an employee, agent, or servant of Defendant, TOTAL

 TRANSPORTATION, acting within his scope of employment, agency or service with said

 Defendant; therefore, Defendant, TOTAL TRANSPORTATION, is vicariously liable for the acts of

 its employee under the doctrines of ?dangerous instmmentality" and ?respondeat superior?.

            15. As a direct and proximate result of the negligence of the Defendant, HAROLD

 RAY CRAIG the Plaintiff, KATHY D. ROHALEY has suffered damages as more fully set forth

 below for which the Defendant, TOTAL TRANSPORTATION, is vicariously liable under the

 "dangerous instrumentality" and ?respondeat superior? doctrines.

            16. As a direct and proxi?rnate result of the negligence of the Defendant, HAROLD

 RAY CRAIG, the Plaintiff has suffered damages as more fully set forth below.




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Case 6:15-cv-01004-GAP-DAB Document 1-2 Filed 06/18/15 Page 6 of 7 PageID 13




                                             DAMAGES


         17. As a direct and proximate result of the above-mentioned accident, the Plaintiff,

 KATHY D. ROHALEY, has suffered permanent bodily injury and resulting pain and suffering,

 disability, disfigurement, mental anguish, loss of capacity for the enjoyment of life, expense of

 hospitalization, medical and nursing care and treatment, loss of earnings, loss of the ability to

 earn money, and the aggravation of a previously existing condition, These losses are either

 permanent or continuing within a reasonable degree of medical probability, and Plaintiff,

 KATHY D. ROHALEY, will continue to suffer these losses in the future.

         18. The Plaintiff furtl?ier requests prejudgment interest at the legal rate on all amounts

 incurred for healthcare, hospital, doctor and/or nursi?ng expenses, as well as any other economic

 damages and on any other liquidated expenses incurred as a result of the aforesaid injuries.




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Case 6:15-cv-01004-GAP-DAB Document 1-2 Filed 06/18/15 Page 7 of 7 PageID 14




        WHERBFORE, the Plaintiff, KATIF-TY D. ROHALEY, demands judgment against the

Defendants, HAROLD RAY CRAIG, U.S. XPRESS, and TOTAL TRANSPORTATION jointly

and severally, for compensatory damages i?ti excess of Fifteen Thousand Dollars ($15,000.00)

exclusive of costs and interest together with costs and prejudgrnent interest for that portion of the

compensatory dmnages which have been previously liquidated, and any other relief to which the

Plaintiff may be entitled and the Plaintiff demands a trial by jury of all issues so triable.

                                      CERTIFICATE OF SERVICF,


        I HEREBY CERTIFY that a copy of the foregoi?ng was electronica?ly e-filed tbrough the
Florida Courts E-Filing Portal and pursuant to Rule 2. 516, Florida Rules qf  Judicial
                                                                          of .h

Administration, e-service will be completed through the E-Portal, this                 dayof
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December, 2014.


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                                                JeF-JJ }Byrd, P.A.
                                                2620 B. Robinson Street
                                                Orlando, FL 32803
                                                (407)423-13 ?3
                                                Attorney for Plaintiff
                                                attorneybyrd(,aggressiveattorneys.com
                                                nadia(,aggressiveattorneys.com
                                                pleadings@,aggressiveattorneys. com




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